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lN THE UN|TED STATES DlSTRlCT COUR`FU:
FOR THE WESTERN DlSTRlCT OF TENNES§§§JL 20 mt \{]: 05
WESTERN DlV|SlON

 

    

 

 

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cle§i,`i:€z. greene
UN|TED STATES OF AMER|CA lllll`;= 03 l.-?.;l.l?'rll$
Plaintiff
VS.
CR. NO. 04-20499-D
JOD|E POPE
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause is scheduled for a report date on July 21, 2005. Counsel for the
defendant filed a motion seeking a continuance of the August 1, 2005 trial date in order
to allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursda\gl Segtember 22l 2005l at 9:00 a.m., in Courtroom 3 9th F|oor
of the Federal Bui|ding, lV|emphis, TN.

 

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this Zg day Of Ju|y, 2005.

    
 

Nl E B. D ALD
lTED STATES DlSTR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
ease 2:04-CR-20499 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

